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 5
 6    Attorneys for Defendant
      COSTCO WHOLESALE CORPORATION, a Washington
 7    Corporation
 8
 9                               UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
10                                    SOUTHERN DIVISION
11
12    DANIEL RIVERA; MARIA RIVERA,                     CASE NO. 8:22-cv-01614
13
                            Plaintiff,                 DECLARATION OF LAUREN E.
14                                                     RAYA IN SUPPORT OF NOTICE OF
             vs.                                       REMOVAL OF ACTION TO
15
                                                       FEDERAL COURT UNDER 28 U.S.C.
16    COSTCO WHOLESALE                                 § 1441(a) (DIVERSITY)
17    CORPORATION; and DOES 1 to 10,

18                          Defendants.
19           I, Lauren E. Raya, declare as follows:
20           1.     I am an attorney, duly licensed to practice law in the State of California. I
21    am an associate of the law firm of McNeil Tropp & Braun LLP, attorneys of record
22    herein for Defendant, COSTCO WHOLESALE CORPORATION, a Washington
23    Corporation. I have personal knowledge of the facts stated herein, and if called as a
24    witness, could and would competently testify hereto.
25           2.     True and correct copies of Plaintiffs, DANIEL RIVERA and MARIA
26    RIVERA’s Summons, Complaint, and Civil Case Cover Sheet are attached hereto as
27    Exhibit A.
28    ///________________________________________________________________________________
                                                   1
       CASE NO. 8:22-cv-01614                          DECLARATION OF LAUREN E. RAYA IN SUPPORT
                                                       OF NOTICE OF REMOVAL OF ACTION TO FEDERAL
                                                       COURT UNDER 28 U.S.C. § 1441(a) (DIVERSITY)
     Case 8:22-cv-01614-JWH-DFM Document 1-1 Filed 08/31/22 Page 2 of 3 Page ID #:7




 1           3.      At the time this action was commenced, and since that time, Plaintiffs were
 2    and are residents and citizens of the State of California, with their domicile in the State
 3    of California. I am informed of these facts based on responses to discovery.
 4           4.      A true and correct copy Plaintiffs’ Proof of Service of Summons and
 5    Complaint is attached as Exhibit B.
 6           5.      A true and correct copy of Defendant’s Answer, Declaration of Trial
 7    Attorney, and Jury Demand is attached as Exhibit C.
 8           6.      A true and correct copy of Plaintiffs’ Statement of Damages is attached
 9    hereto as Exhibit D.
10           7.      Attached hereto as Exhibit E is a true and correct copy of a printout from
11    the California Secretary of State’s website for Costco Wholesale Corporation. As
12    depicted in Exhibit E, Costco Wholesale Corporation is incorporated in the State of
13    Washington and its corporate headquarters and principal place of business is located in
14    Washington.
15           8.      Attached hereto as Exhibit F is a true and correct copy of the Notice to
16    Adverse Parties of Removal of the Case to Federal Court, which will be filed with the
17    Superior Court of California, County of Orange, and served on all involved parties to
18    this action.
19           9.      Plaintiffs filed an unlimited complaint seeking monetary damages in
20    excess of $25,000.00. In the complaint, Plaintiffs claim to have suffered (1) hospital
21    and medical expenses; and (2) general damages as a result of the incident. Plaintiffs
22    pray for compensatory damages according to proof.
23           I declare under penalty of perjury under the laws of the United States of America
24    and California that the foregoing is true and correct.
25           Executed August 31, 2022, at Irvine, California.
26                                                           /s/ Lauren E. Raya
                                                             LAUREN E. RAYA
27
28     ________________________________________________________________________________
                                                   2
       CASE NO. 8:22-cv-01614                          DECLARATION OF LAUREN E. RAYA IN SUPPORT
                                                       OF NOTICE OF REMOVAL OF ACTION TO FEDERAL
                                                       COURT UNDER 28 U.S.C. § 1441(a) (DIVERSITY)
     Case 8:22-cv-01614-JWH-DFM Document 1-1 Filed 08/31/22 Page 3 of 3 Page ID #:8




 1                                CERTIFICATE OF SERVICE
 2           I hereby certify on August 31, 2022, I electronically filed the foregoing:
 3    DECLARATION OF LAUREN E. RAYA IN SUPPORT OF NOTICE OF
      REMOVAL OF ACTION TO FEDERAL COURT UNDER 28 U.S.C. § 1441(a)
 4    (DIVERSITY) with the Clerk of the Court for the United States District Court, Central
 5    District of California by using the Central District CM/ECF system.
 6        Participants in the case who are registered CM/ECF users will be served by the
 7    USDC-Central District of California CM/ECF system.
 8          I further certify that participants in the case not registered to as CM/ECF users
 9    have been mailed a true and correct copy of the above described documents by First
      Class Mail, postage pre-paid, to the following non-CM/ECF participants:
10
11           Daniel Nelson, Esq.
             Nelson & Natale, LLP
12           13144 Prairie Avenue
             Hawthorne, California 90250
13           (310) 641-8300
             Fax: (310) 641-4932
14           Nelson.Natale@Yahoo.com
15
            I am "readily familiar" with the firm's practice of collection and processing
16    correspondence for mailing. Under that practice, it would be deposited with the United
17    States Postal Service on that same day, with postage thereon fully prepaid at Irvine,
      California in the ordinary course of business. I am aware that on motion of the party
18    served, service is presumed invalid if postal cancellation date or postage meter date is
19    more than one day after date of deposit for mailing an affidavit.
20
            FEDERAL:I declare under penalty of perjury in accordance with 28 U.S.C.
21    Section 1746 that the foregoing is true and correct.
22
             Executed on August 31, 2022, at Irvine, California.
23
24                                                          /s/ Lauren E. Raya
                                                            LAUREN E. RAYA
25
26
27
28     ________________________________________________________________________________
                                                  3
       CASE NO. 8:22-cv-01614                         DECLARATION OF LAUREN E. RAYA IN SUPPORT
                                                      OF NOTICE OF REMOVAL OF ACTION TO FEDERAL
                                                      COURT UNDER 28 U.S.C. § 1441(a) (DIVERSITY)
